08-13555-mg         Doc 30285         Filed 08/22/12 Entered 08/22/12 11:24:46                   Main Document
                                                  Pg 1 of 4




 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------x
 In re:                                                       :
                                                              :      Chapter 11
 LEHMAN BROTHERS HOLDINGS INC., et al. :
                                                              :      Case No. 08-13555 (JMP)
                                                              :
                                              Debtors.        :      (Jointly Administered)
                                                              :
 ------------------------------------------------------------x

            DECLARATION OF MELISSA ROSSITER IN SUPPORT OF
       MOTION PURSUANT TO SECTION 105(a) OF THE BANKRUPTCY CODE
     AND BANKRUPTCY RULE 9019 FOR AUTHORIZATION TO SETTLE CERTAIN
       PREPETITION DERIVATIVES CONTRACTS WITH TRUSTS FOR WHICH
           DEUTSCHE BANK NATIONAL TRUST COMPANY SERVES AS
                 INDENTURE TRUSTEE AND RELATED RELIEF

 Pursuant to 28 U.S.C. §1746, Melissa Rossiter, declares as follows:

          1.       I am employed by Deutsche Bank National Trust Company as a Vice President at

 1761 East Saint Andrew Place, Santa Ana, CA 92705. Except as otherwise provided herein, the

 facts set forth in this Declaration are based on my personal knowledge. I am competent to testify

 to these facts.

          2.       I submit this declaration in support of the Motion Pursuant to Section 105(a) of

 the Bankruptcy Code and Bankruptcy Rule 9019 for Authorization to Settle Certain Prepetition

 Derivatives Contracts with Trusts for which Deutsche Bank National Trust Company Serves as

 Indenture Trustee and Related Relief [Dkt. No. 29611] (the “Motion”).1

          3.       Deutsche Bank National Trust Company, acts as indenture trustee or trustee (the

 “Trustee”) for certain trusts, (the “Trusts”) that are counter-parties to Lehman Brothers Special

 Financing Inc. (“LBSF”) and Lehman Brothers Derivatives Products Inc. (“LBDP”, and together

 1
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
08-13555-mg        Doc 30285         Filed 08/22/12 Entered 08/22/12 11:24:46                     Main Document
                                                 Pg 2 of 4



 with LBSF, the “Lehman Counterparties”) to certain swap agreements as identified in Exhibit B.

 to the Motion.

 The Dispute and Notice to Holders

         4.       Between October, 2008 and July, 2012, the Trustee sent notices, as described

 below, to the certificate or noteholders (the “Holders”) of the Trusts containing information

 about substantive developments in the Debtors’ bankruptcy cases, including the Motion and

 Settlement Agreement.

         5.       The Trustee provided notice to the Holders through three mechanisms: (a) it

 transmitted each notice to the Depository Trust Company2 with instructions to forward the notice

 on to its DTC Participants, (b) it mailed notice to the registered holders of physical certificates,

 and (c) it posted each notice on a website that the Trustee maintains to provide the Holders with

 reports and certain information with respect to the Trusts.

         6.       The Trustee has sent notices to Holders informing them of the fact that the

 Debtors had commenced bankruptcy cases in the Bankruptcy Court for the Southern District of

 New York pursuant to chapter 11 of the United States Code (the “Bankruptcy Notices”).

         7.       On or around August 19, 2009, the Trustee sent notices to Holders informing

 them of the bar date established for the filing of proofs of claim (the “Bar Date Notices”).

         8.       On January 12, 2012, the Trustee sent notices to Holders informing them of (i) the

 adversary proceeding commenced against the applicable Trusts, and (ii) the Debtor’s October 6,

 2011 demand letter seeking the payment of the funds held by the Trustee (in its capacity as

 escrow agent) on account of the Trusts (the “Dispute Notices”). True and correct copies of the



 2
     The notes are generally held in “street name” meaning that the notes themselves are registered in the name of
     Cede & Company as the nominee for the Depository Trust Company.
08-13555-mg     Doc 30285       Filed 08/22/12 Entered 08/22/12 11:24:46            Main Document
                                            Pg 3 of 4



 Dispute Notices are attached hereto as Exhibits A-1 through A-8. The Dispute Notices provided,

 among other things, that:

        The Trustee asks that the Certificateholders contact the Trustee regarding the
        Debtor’s Demand on or before February 10, 2012, and, if appropriate, requests
        direction (with the requisite indemnity) regarding any response the
        Certificateholders may formulate with the Trustee. In the absence of direction
        from the requisite Certificateholders, the Trustee, in consultation with counsel,
        may take action as it deems appropriate, including, without limitation, making
        payment to the Derivative Counterparty.

        9.      On July 24, 2012, the Trustee sent notices to Holders informing them of the

 Motion and Settlement Agreement resolving the disputes outlined in the Dispute Notice (the

 “Settlement Notices”). True and correct copies of the Settlement Notices are attached as

 Exhibits B-1 and B-2.

        10.     The Settlement Notices stated in underlined bold capital letters:

        . . . THE PROPOSED ORDER APPROVING THE SETTLEMENT
        AGREEMENT WILL PROVIDE THAT THE CERTIFICATEHOLDERS
        WILL BE PERMANENTLY ENJOINED FROM ASSERTING CLAIMS
        ARISING OUT OF THE NEGOTIATION AND IMPLEMENTATION OF
        THE    SETTLEMENT   AGREEMENT    AGAINST      THE   PLAN
        ADMINISTRATOR (AS DEFINED THEREIN), LBHI, THE DERIVATIVE
        COUNTERPARTY, THE TRUSTEE (IN SUCH CAPACITY OR IN ITS
        INDIVIDUAL CAPACITY) AND THEIR LEGAL COUNSEL AND/OR
        FINANCIAL ADVISORS.


        11.     The Settlement Notices further provided that:

        IF YOU WISH TO OBJECT TO THE MOTION, YOU MUST FILE AN
        OBJECTION BEFORE THE OBJECTION DEADLINE AND SERVE THE
        OBJECTION IN THE MANNER SET FORTH IN THE NOTICE OF THE
        MOTION. YOUR OBJECTION MUST BE FILED AND RECEIVED BY
        NO LATER THAN AUGUST 17, 2012 AT 4:00 P.M. (PREVAILING
        EASTERN TIME) (THE “OBJECTION DEADLINE”).

        12.     Moreover, the Settlement Notices provided that:
08-13555-mg      Doc 30285      Filed 08/22/12 Entered 08/22/12 11:24:46              Main Document
                                            Pg 4 of 4



        If you would like to discuss a direction and indemnity regarding the Trustee’s
        exercise of its rights and remedies, or provide direction and indemnity to the
        Trustee to object to the Motion, please contact the Trustee at the contact
        information provided below by August 10, 2012 at 4:00p.m. (eastern prevailing
        time).

 Communications from Holders

        13.     The Trustee has not received any responses or Holder inquiries regarding the

 Dispute Notice or the Settlement Notice.

        14.     The Trustee has not received any response from any Holder that purported to

 direct the Trustee to take or to refrain from taking any action in connection with Motion or

 Settlement Agreement.

        15.     The Trustee has not received any communication from any Holder questioning or

 objecting to the Motion or the Settlement Agreement.

        16.     I declare under penalty of perjury that the foregoing is true and correct to the best

 of my knowledge.


 Executed this 22nd day of August, 2012.


                                                              /s/ Melissa Rossiter
                                                                   Melissa Rossiter
